                     Case 4:20-mj-71869-MRGD Document 1 Filed 12/17/20 Page 1 of 10
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                            Defendant(s)


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IRRWDJHVKRZV0855$<ZDONLQJWRZDUGVWKHVWUHHWDWZKLFKSRLQWDQ$5VW\OHSLVWROIHOORXWRI

KLVMDFNHW0855$<SLFNHGXSWKHILUHDUPDQGSODFHGLWEDFNLQWRKLVZDLVWEDQG

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            2QRUDERXW'HFHPEHU$7)6SHFLDO$JHQWVDQG7DVN)RUFH2IILFHUV

ZLWKWKHDVVLVWDQFHRIWKH2DNODQG+RXVLQJ$XWKRULW\3ROLFH'HSDUWPHQWH[HFXWHGDIHGHUDO

VHDUFKZDUUDQWDW0855$<¶VKRPHLQ2DNODQG&DOLIRUQLD'XULQJWKHVHDUFKZDUUDQW

H[HFXWLRQDQ$7)6SHFLDO$JHQWREVHUYHG0855$<RSHQWKHUHDUGRRURIWKHUHVLGHQFHDW

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0RGHOKDGEHHQUHSRUWHGVWROHQ7KHURXQGVRIDPPXQLWLRQERUHKHDGVWDPSVIURPWKH

IROORZLQJEUDQGV6HOOLHUDQG%HOORW WKUHH &%& WZR 5HPLQJWRQ RQH )HGHUDO WKUHH &&,

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            ,QRWHGWKDWWKH*ORFNSLVWRODSSHDUHGWREHWKHVDPHRQHDVWKHRQHGHVFULEHG

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IURP0855$<¶VUHVLGHQFHLVGHSLFWHGEHORZ,EHOLHYHWKH\DUHWKHVDPHILUHDUPEHFDXVHWKH

UHFRYHUHG*ORFNSLVWROLVD0RGHOZLWKDQH[WHQGHGPDJD]LQHDQGKDVDZHDSRQOLJKW

DWWDFKHGWRWKHIUDPH%RWKILUHDUPVDOVRDSSHDUWRKDYHWKHVDPHEHOWFOLSDWWDFKHGWRWKHP




       &      7KH)LUHDUPDQG$PPXQLWLRQ3RVVHVVHGE\0855$<7UDYHOHGLQ,QWHUVWDWH
               &RPPHUFH

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PXVWKDYHFURVVHGVWDWHOLQHVLQRUGHUWREHORFDWHGLQ&DOLIRUQLD

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            %DVHGXSRQWKHIRUHJRLQJ,VXEPLWWKDWWKHUHLVSUREDEOHFDXVHWREHOLHYHWKDWRQ

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           $FFRUGLQJO\,UHTXHVWWKDWWKH&RXUWLVVXHWKHUHTXHVWHG&ULPLQDO&RPSODLQWDQG

$UUHVW:DUUDQW

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